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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                 www.flsb.uscourts.gov

In Re:                                                           Case #21-11561-RAM
Debtor: Jose Gafas                                               Chapter 13

                     FINAL REPORT OF LOSS MITIGATION MEDIATOR
The undersigned court-appointed Mortgage Modification Mediation Mediator, reports
to the court as follows:

A. The final Mortgage Modification Mediation Mediator (MMM) conference was conducted on
08-25-2021 and the following parties were present:

1. [ x ] The Debtor: Jose Gafas
2. [ x ] The Debtor's Attorney: Kristina Gonzalez, Esq.
3. [ x ] The Lender's Representative: Corey Ohayon, Esq.
4. [ x ] The Lender's Attorney: Sierra Robertson

B. The final MMM conference was scheduled for 08-25-2021 but not conducted for the
following reason:

1. [   ] The parties settled prior to attending
2. [   ] The case was dismissed
3. [   ] The debtor failed to attend
4. [   ] The debtor's attorney failed to attend
5. [   ] The lender failed to attend
6. [   ] The lender's attorney failed to attend
7. [   ] Other

C. The result of the MMM conference is as follows:

1. [ ] The parties reached an agreement
2. [ x ] The parties did not reach an agreement



Dated: 08.25.21                         Signature of Mediator:        //s// Anthony Roca
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